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                  EXHIBIT A
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                                         August 24, 2020


 VIA EMAIL AND FEDERAL EXPRESS

 Nicholas M. DePalma, Esq.
 Venable LLP
 8010 Towers Crescent Drive
 Tysons Corner, VA 22182
                     Re: Comstock Holdings Companies, Inc. (“Comstock”)
 Dear Mr. DePalma:
         This firm represents Mr. Norman Chirite in connection with the matters referred to in
 your letter of August 19, 2020 (the “Letter”). Please direct any further communications to my
 attention. In sum -
       The Letter is riddled with inaccuracies and makes unsupported accusations of fiduciary
        and ethical misconduct against Mr. Chirite that are false and defamatory.

       The Letter was delivered in an irregular manner unworthy of a major law firm, by
        literally scotch-taping it on the front door of Mr. Chirite’s house, facing outward without
        an envelope, notwithstanding that Comstock has used his email address for years for
        Board-related communications.

       You improperly filed the Letter publicly in a federal court proceeding (the “section 1782
        Action”) in which Mr. Chirite is not involved, while not waiting for a response. The
        public filing was made less than 48 hours after “delivery” of the Letter and three days
        before the arbitrary deadline given for a response. Nor did you even serve Mr. Chirite
        with a copy of the federal court pleadings that attach the defamatory Letter.

       Mr. Chirite has never used confidential Comstock information for any purpose other than
        to discharge his duties as a Comstock board member, nor has he breached any duties to
        Comstock – contractual, fiduciary or otherwise – before or after his resignation on July
        31, 2020.

       The Letter’s purported termination “for cause” of the parties’ December 20, 2019 letter
        agreement under which Mr. Chirite served as a Special Independent Director (the
        “Agreement”) is insupportable in fact or law, because no “cause” exists and because the
        Agreement was terminated when Mr. Chirite resigned three weeks earlier.
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         The purpose of your Letter is evident – to attempt to intimidate or embarrass Mr. Chirite,
 who served Comstock loyally as an independent director for 14 years, in a misguided attempt to
 assist Dwight Schar, the father-in-law and close business associate of Comstock’s CEO Chris
 Clemente, in Mr. Schar’s dispute with the Washington Football team and Dan Snyder. The
 ostensible premise for the Letter is contained in the opposition brief you filed on behalf of
 Comstock in the section 1782 Action: that Mr. “Snyder recently hired away one of Comstock’s
 special independent directors, Norman Chirite, a former employee of the Washington Football
 Team.” This statement is preposterous.
         As is well-known to Comstock, Mr. Chirite has worked with and for Daniel Snyder and
 the Washington Football Team for well over two decades, including serving as the team’s
 general counsel and as managing director of RedZone Capital Management Company. It was in
 that context that Mr. Schar met Mr. Chirite, when Mr. Schar purchased a minority interest in the
 Team in 2003. In 2006, Mr. Clemente asked Mr. Chirite to join Comstock’s board of directors,
 and as Mr. Clemente is well aware, Mr. Chirite has continued to work with Mr. Snyder and the
 Team at different times in the years since.
         Thus, there is nothing surprising, as the Letter and opposition brief falsely suggest, in Mr.
 Chirite’s continued involvement with Mr. Snyder and the Team. Nothing in the Agreement or
 otherwise restricted Mr. Chirite from working for Mr. Snyder or the Team while he served on the
 Comstock board. As a matter of courtesy, Mr. Chirite reached out to Mr. Clemente on June 9,
 2020 (not in March 2020, as the Letter erroneously states) to inform him that he was handling a
 confidential matter for Mr. Snyder that involved Mr. Schar (not Comstock). Mr. Clemente
 informed Mr. Chirite that he was aware of the matter. During the June 9 conversation and
 several subsequent conversations between Mr. Clemente and Mr. Chirite, including on June 17
 and in early July 2020, Mr. Chirite advised that if either Mr. Clemente or Mr. Schar were not
 comfortable with this situation, Mr. Chirite would resign from the Comstock board. Yet Mr.
 Clemente repeatedly assured Mr. Chirite that he and Mr. Schar both were completely
 comfortable with Mr. Chirite’s representation of Mr. Snyder in the matter involving Mr. Schar,
 and Mr. Clemente repeatedly encouraged Mr. Chirite to remain on the Comstock board.
         The Agreement did not require that Mr. Chirite provide any reason for resigning from
 Comstock’s board when he informed Mr. Clemente that he was doing so on July 31. To the
 extent that Mr. Chirite referenced a “conflict” as the reason, there can be no doubt that Messrs.
 Clemente and Schar knew exactly what he meant; Mr. Chirite’s resignation was precipitated by a
 false accusation of professional misconduct, unrelated to Comstock, that Mr. Schar made against
 Mr. Chirite that very day.
         Despite the unpleasant circumstances and his awareness of Mr. Chirite’s involvement on
 behalf of Mr. Snyder in the dispute with Mr. Schar, Mr. Clemente never expressed any concern
 over Mr. Chirite’s “compliance” with fiduciary duties or confidentiality obligations owed to
 Comstock. To the contrary, Mr. Clemente wrote to Mr. Chirite on August 4, 2020:
        “I have always valued your contributions to the CHCI board . . . . Your increased
        involvement over the past year helped formalize CHCI’s new direction and I was looking
        forward to continuing our efforts with you on the team. I viewed your recently enhanced
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        role on CHCI’s Board as a valuable leadership role . . . . I know that the other Board
        members, as well as Jubal would agree with my assessment on this.
        “Nonetheless, I appreciate the difficult position that you are in currently and have no
        desire to complicate things for you. . . .”
 In the same vein, on August 10, 2020, Jubal Thompson, Comstock’s General Counsel, wrote to
 Mr. Chirite:
        “Was sorry to hear about your resignation. . . .
        “100,000 RSU’s granted pursuant [sic] to you in the Independent Director Consulting
        Agreement were subject to partial vesting which resulted in 27,083 shares being available
        for issuance under the award.
        “Please confirm your understanding that consulting agreement terminated upon your
        resignation and the amount of shares and I’ll have Eric process for you.”
         The statement in the Letter that Mr. Chirite provided services to Comstock that “were
 legal in nature” is vague and misleading – Mr. Chirite never served as Comstock’s legal counsel,
 and the fact that Mr. Chirite is a corporate director who also happens to be a lawyer does not
 change this fact. Nor has Mr. Chirite had any involvement in either the defamation action filed
 in India or the section 1782 Action, which he first learned involved Comstock from the Letter.
 Furthermore, at no time during or subsequent to his service on the Comstock board has Mr.
 Chirite been involved in any matter or proceeding adverse to Comstock. Mr. Chirite has never
 disclosed Comstock’s confidential information to Mr. Snyder or the Washington Football Team
 or for any improper purpose. Whatever disagreements may have arisen between Mr. Snyder and
 Mr. Schar do not change these facts, or the laudatory comments by Comstock’s senior officers
 about Mr. Chirite’s long service to the company.
         With respect to the numbered demands at the end of the Letter, the first three are rejected
 as well beyond the scope of any obligations Mr. Chirite owes to Comstock by virtue of the
 Agreement or otherwise. With respect to the fourth numbered demand, please identify the
 “anticipat[ed] future litigation” to which you are referring.
         Finally, please contact me to discuss implementing the terms of the Agreement
 concerning the destruction or return by Mr. Chirite of confidential Comstock materials pursuant
 to paragraph 6(b), and concerning Comstock’s issuance of stock to Mr. Chirite pursuant to
 paragraph 3(a) as Mr. Thompson has already agreed.
                                                              Very truly yours,




                                                              David A. Barrett
 cc: Norman Chirite, Esq.
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